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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Case No.: 21-CR-50 (CJC)
v. : 40 U.S.C. § 5104(e)(2)(G)
JASON LEE HYLAND, :
Defendant. 3
STATEMENT OF OFFENSE

 

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, Jason Lee Hyland, with
the concurrence of his attorney, agree and stipulate to the below factual basis for the defendant’s
guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the United States
could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capito] was closed to members of the
public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

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Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session
began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and
Senate adjourned to separate chambers to resolve a particular objection, Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

5. At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter or
remain in the building and, prior to entering the building, no members of the crowd submitted to
security screenings or weapons checks as required by USCP officers or other authorized security
officials.

6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.

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7, Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

Jason Lee Hyland’s Participation in the January 6, 2021, Capitol Riot

8. The defendant lives in Frisco, Texas. He wanted to attend the January 6, 2021 Save
America rally in Washington, D.C., and invited people from his social circle to join him; however,
they all declined. The defendant also invited individuals he knew through Facebook to fly with
him in his personal aircraft to attend the rally. Codefendants Jennifer Leigh Ryan and Katherine
Staveley Schwab, and two additional individuals, accepted the offer. On January 5, 2021, they
flew from Texas to a Manassas, Virginia airport near Washington, D.C. Members of the group
then checked in to a District of Columbia hotel.

9. On the morning of January 6, 2021, the group, including Hyland, walked to the
rally on the Ellipse. During that walk, and when Hyland could have heard, codefendant

Ryan broadcast over Facebook Live that the day was a prelude to war.

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~10. | When the morning rally on the Ellipse concluded, Hyland and his group walked to
the Capitol, but did not see any signs of an organized event when they arrived at the west side of
the Capitol. Hyland, Schwab and Ryan returned to their hotel. From their hotel room, Ryan and
Schwab watched news coverage of rioters confronting police and attempting to breach the Capitol.
At approximately 2:27 p.m., Hyland, Ryan and Schwab received a text message from another
member of their group forwarding a tweet that described rioters breaching the Capitol.. The tweet

stated:

Trump supporters have breached all security barriers and are now actively

destroying and occupying the Capitol building. I repeat. The feds have lost control

of the Capitol building [.] Revolution in progress[.] Not a drill[.]

Trump supporters have breached the Capitol building, tearing down 4 layers of

security fencing and are attempting to occupy the building—fighting federal

police who are overrun. ]

Ll. Hyland, Ryan, and Schwab then returned to the Capitol, arriving at the east front.
Hyland wanted to “show a sheer number of support of people for President Trump” and wanted
“it to register in a lot of people’s minds that there were a lot of people that support this guy.”

12. Schwab entered the Capitol on her own through the East Rotunda door a few
minutes ahead of Hyland and Ryan.

13. Atapproximately 3:21 p.m., Hyland and Ryan entered the Capitol together through
the East Rotunda door. Hyland recorded his entry on his cellular phone. Ryan also recorded and
broadcast their entrance over Facebook. Both recordings show that as Hyland and Ryan entered
the Capitol they passed doors with visibly broken windows while building alarms sounded. As
they entered, Hyland and Ryan each wondered about Schwab’s location. Ryan-expressed concern

about the presence of tear gas. Within earshot of Hyland and Ryan, other exiting members of the

mob also commented about tear gas. Soon after Hyland entered the Capitol, a surveillance camera

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captured him raising his cellular phone as if Hyland were recording images of the building’s
interior, Material later recovered from Hyland’s phone includes videos recorded inside of the
Capitol that are consistent with the surveillance footage of Hyland. Although she is not visible,
Hyland’s video captured Ryan’s voice.

14, At approximately 3:23 p.m., Hyland and Ryan exited from the Capitol through the
East Rotunda doors. Hyland and Ryan remained outside of the Capitol, reunited with Schwab,
and continued to make recordings, take photographs, and observe other members of the mob.

15, After his exit from the Capitol, Hyland recorded himself in a short video where he
states, “They’re coming for taxpayers like me who pay over half a million dollars a year in taxes;
I just entered this f***ing house because I own part of it. We’re not gonna quit; you can’t steal
elections from us.”

16. Before leaving the Capitol grounds, Hyland, Schwab and Ryan arrived at a press
enclosure where the crowd attacked media equipment. Schwab joined the assault, kicking media
equipment and throwing one piece of equipment on the ground while Hyland and Ryan observed.

17. On January 7, 2021, Hyland and the rest of his group flew back to Texas. Later
that day, Ryan shared with Hyland and other travelling companions that she was receiving threats
and other hostile reactions to her posts and broadcasts from January 6. Hyland responded with a
message stating, “We did not commit violence or destruct property. I’m hoping my generosity for
the plane ride doesn’t backfire. Y’all stop talking to people about it. Completely. And delete all
of your related social media posts. Especially if I’m in them. Appreciate in it in advance and I
hope to see you all again when the dust settles.”

18. After learning that federal agents were questioning Schwab, Hyland contacted the

FBI through counsel and agreed to an interview which occurred on January 19, 2021.

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19. Hyland admitted that he, Schwab, and Ryan entered the Capitol on January 6, 2021.
He described the walk up the steps to the Capitol as a “funnel.” He mentioned that two police
officers were holding the doors open, and when, according to Hyland, he asked if he could go
inside, an officer responded “everyone else is.” Hyland admitted that when he entered the Capitol
he felt something was not right and pushed his way out when he heard what sounded like a flash

bang. Hyland estimated that his time in the Capitol was less than a minute.

Elements of the Offense
20. Defendant Jason Lee Hyland knowingly and voluntarily admits to all the elements

of Parading, Demonstrating and Picketing in a Capitol Building, in violation of 40 U.S.C. §
5104(e)(2)(G). Specifically, defendant admits that he willfully and knowingly entered the U.S.
Capitol Building knowing that that he did not have permission to do so. Defendant further admits
that while inside the Capitol, defendant willfully and knowingly paraded, demonstrated, or
picketed.

Respectfully submitted,

MATTHEW M. GRAVES

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DEFENDANT’S ACKNOWLEDGMENT

I, JASON LEE HYLAND, have read this Statement of the Offense and have discussed it
with my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by
my signature that this Statement of the Offense is true and accurate. I do this voluntarily and of
my own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully,

Date: 2

 

ATTORNEY’S ACKNOWLEDGMENT

[have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.

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Nina J. Ginsberg, Esq.
Attorney for Defendant Hn

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